                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:                                                     )
                                                           )
WINDY ACRES FARMS, LLC,                                    )       Bk. No. 19-03429-RM3-12
                                                           )       Chapter 12
                       Debtor(s).                          )       Judge Randal S. Mashburn

                                          ORDER DISMISSING CASE


                        It appearing to the Court, based upon the certification of the Trustee as indicated by his
electronic signature below, that the Trustee has filed a Motion to Dismiss the above-styled case, for cause and that,
pursuant to Rule 9013-1 of the Local Rules of the Bankruptcy Court for the Middle District of Tennessee, has
forwarded a copy of that application along with notice and an opportunity to be heard to the debtor, debtor’s
counsel, and the Assistant U. S. Trustee and that no affected party in interest has objected to or requested a hearing
on the Trustee’s application, it is

              ORDERED, the above-styled case is dismissed, for cause, for the debtor’s failure to fund the
Chapter 12 plan in accordance with its terms.

                                                                   THIS ORDER WAS SIGNED AND ENTERED
                                                                   ELECTRONICALLY AS INDICATED AT THE
                                                                   TOP OF THE FIRST PAGE.

APPROVED BY:


/s/ Henry E. Hildebrand, III
______________________________
Henry E. Hildebrand, III
Chapter 12 Trustee
P. O. Box 330297
Nashville, TN 37203
615-244-1101; Fax 615-242-3241
pleadings@ch13nsh.com




      Case 3:19-bk-03429         Doc 41    Filed 07/30/20 Entered 07/30/20 08:57:51               Desc Main
                                           Document     Page 1 of 1
